Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 1 of 56 PageID #: 1




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION


 DREW MATEYA, individually and as                 CASE NO. 1:22-cv-1271
 representative of a class of similarly
 situated persons of, and on behalf of, the
 Cook Group 401(k) Plan,

       Plaintiff,

 v.
                                                  CLASS ACTION
 COOK GROUP INCORPORATED,
 COOK GROUP INC. PROFIT SHARING                   JURY DEMANDED
 PLAN, COOK GROUP PROFIT
 SHARING PLAN ADVISORY
 COMMITTEE, JOHN R. KAMSTRA,
 ROBERT L. SANTA, GREGORY S.
 SMITH, and TEDD GREEN,

       Defendants.


                          CLASS ACTION COMPLAINT

      1.     Plaintiff, Drew Mateya, individually and as representative of a class of

participants and beneficiaries in the Cook Group Inc. Profit Sharing Plan (the “Plan”),

brings this action under 29 U.S.C. §§ 1132(a)(2) & (3) on behalf of the Plan against

Defendants Cook Group Incorporated, Cook Group Profit Sharing Plan, Cook Group

Profit Sharing Plan Advisory Committee, John R. Kamstra, Robert L. Santa, Gregory

S. Smith, and Tedd Green (collectively, “Defendants”), for breach of fiduciary duties.

      2.     Today, 401(k) defined-contribution plans, in which the employees’

retirement assets are at risk of high fees and underperformance, have become



                                              1
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 2 of 56 PageID #: 2




America’s primary retirement system, departing from traditional defined-benefit

(pension) plans where the employer assumes the risk.1

        3.     The marketplace for 401(k) retirement plan services is established and

competitive.

        4.     Billion-dollar    defined-contribution     plans,   like   the   Plan,      have

tremendous bargaining power to demand low-cost administrative and investment

management services.

        5.     As fiduciaries to the Plan, Defendants are obligated to act for the

exclusive benefit of participants and beneficiaries and ensure that Plan expenses are

reasonable.

        6.     These duties are the “highest known to the law” and must be performed

with “an eye single to the interests of the participants and beneficiaries.” Davis v.

Richards, 7 F.4th 534, 546 (7th Cir. 2021).

        7.     The law is settled that ERISA fiduciaries have a duty to evaluate fees

and expenses when selecting investments, as well as a continuing duty to monitor

fees and expenses of selected investments and remove imprudent ones. Tibble v.

Edison Int’l, 574 U.S. 523, 529 (2015); 29 U.S.C. § 1104(a)(1)(A) (fiduciary duty

includes “defraying reasonable expenses of administering the Plan”); 29 C.F.R. §

2250.404a-1(b)(i) (ERISA fiduciary must give “appropriate consideration to those

facts and circumstances” that “are relevant to the particular investment.”).



1   Nancy Trejos, Retirement Wreck, WASHINGTON POST (Oct. 12, 2008), available at
    http://www.washingtonpost.com/wp-dyn/content/article/2008/10/11/AR2008101100177.html
    (last visited June 27, 2022).
                                               2
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 3 of 56 PageID #: 3




      8.        “ERISA’s essential remedial purpose [is] to protect the beneficiaries of

private pension plans.” Nachwalter v. Christie, 805 F.2d 956, 962 (11th Cir. 1986)

(citing Dennard v. Richards Grp., Inc., 681 F.2d 306, 319 (5th Cir. 1982)); accord

Sokol v. Bernstein, 812 F.2d 559, 560 (9th Cir. 1987).

      9.        It is for good reason that ERISA requires fiduciaries to be cost-conscious:

      Expenses, such as management or administrative fees, can sometimes
      significantly reduce the value of an account in a defined-contribution
      plan,” by decreasing its immediate value, and by depriving the
      participant of the prospective value of funds that would have continued
      to grow if not taken out in fees.

Sweda v. Univ. of Pa., 923 F.3d 320, 328 (3d Cir. 2019) (quoting Tibble, 574

U.S. at 529).

      10.       Plaintiff alleges that during the putative Class Period (six years prior to

the date this action was first commenced through the date of judgment), Defendants,

as fiduciaries of the Plan, as that term is defined under ERISA, 29 U.S.C. §

1002(21)(A), breached the duties they owed to the Plan, to Plaintiff, and to the other

Participants of the Plan by, among other things: (1) authorizing the Plan to pay

objectively unreasonable fees for recordkeeping and administration (“RK&A Fees”);

(2) failing to objectively, reasonably, and adequately review the Plan’s investment

portfolio with due care to ensure that each investment share class was prudent, in

terms of costs; and (3) maintaining certain funds in the Plan despite the availability

of materially identical or substantially similar investment share classes or funds with

lower costs.




                                              3
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 4 of 56 PageID #: 4




      11.    Instead of using the Plan’s bargaining power to benefit participants and

beneficiaries, Defendants selected and retained high-cost investments and agreed to

excessively high compensation for recordkeeping, administration, and/or other fees

compared to available alternatives and caused the Plan, and hence participants, to

pay unreasonable expenses and costs for the Plan.

      12.    These objectively unreasonable RK&A Fees, share-class selections, and

high-cost investments cannot be justified.

      13.    Defendants’ failures breached the fiduciary duties they owed to Plaintiff,

Plan Participants, and beneficiaries.

      14.    Prudent fiduciaries of 401(k) Plans continuously monitor fees against

applicable benchmarks and peer groups to identify objectively unreasonable and

unjustifiable fees.

      15.    Upon information and belief, Defendants engaged in a flawed and

imprudent decision-making and selection process by not subjecting its recordkeeper,

Fidelity Investments, to a competitive, recordkeeper bidding process during the Class

Period and by maintaining objectively unreasonable share classes and funds in their

investment portfolio when cheaper share classes and funds with comparable or even

materially identical portfolio management and investments were readily available.

      16.    To remedy these fiduciary breaches, Plaintiff, individually and as

representative of a class of participants and beneficiaries in the Plan, brings this

action on behalf of the Plan under 29 U.S.C. §§ 1132(a)(2) & (3) to enforce Defendants’

personal liability under 29 U.S.C. § 1109(a) to make good to the Plan all losses


                                          4
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 5 of 56 PageID #: 5




resulting from each breach of fiduciary duty and restore to the Plan any profits made

through Defendants’ use of the Plan’s assets.

      17.    In addition, Plaintiff seeks to reform the Plan to comply with ERISA and

to prevent further breaches of ERISA’s fiduciary duties and other such equitable or

remedial relief for the Plan as the Court may deem appropriate.

                           JURISDICTION AND VENUE

      18.    This Court has exclusive jurisdiction over the subject matter of this

action under 29 U.S.C. § 1132(e)(1) and 28 U.S.C. § 1331 because it is an action under

29 U.S.C. § 1132(a)(2) & (3), for which federal district courts have exclusive

jurisdiction under 29 U.S.C. § 1132(e)(1).

      19.    This Court has personal jurisdiction over Defendants because they

transact business in this district, reside in this district, and have significant contacts

with this district, and because ERISA provides for nationwide service of process.

      20.    This district is the proper venue for this action under 29 U.S.C. §

1132(e)(2) and 28 U.S.C. § 1391(b) because it is the district in which the subject Plan

is administered, where at least one of the alleged breaches took place, and where the

Defendants may be found. Defendants are subject to nationwide service of process

under 29 U.S.C. § 1132(e)(2).

      21.    In conformity with 29 U.S.C. § 1132(h), Plaintiff served the original

Complaint by certified mail on the Secretary of Labor and the Secretary of the

Treasury.




                                             5
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 6 of 56 PageID #: 6




                                      PARTIES

                             Cook Group 401(k) Plan

      22.    The Plan is a defined-contribution, individual-account, employee

pension benefit plan under 29 U.S.C. § 1002(2)(A) and § 1002(34).

      23.    The Plan was established by Defendant Cook Group Incorporated (“Cook

Group”) and is maintained under a written document in accordance with 29 U.S.C. §

1102(a).

      24.    The Plan provides for retirement income for Cook Group employees.

      25.    That retirement income depends on contributions made on behalf of

each employee by his or her employer, deferrals of employee compensation and

employer matching contributions, and on the performance of investment options net

of fees and expenses exclusively controlled by the fiduciaries of the Plan.

      26.    Cook Group established a trust to hold participant and employer

contributions and such other earnings, income, and appreciation from Plan

investments less payments made by the Plan’s trustee to carry out the purposes of

the trust and Plan in accordance with 29 U.S.C. § 1103(a).

      27.    As of September 30, 2021, the Plan had more than $1.19 billion in total

assets and approximately 12,300 participants.

                                      Plaintiff

      28.    Drew Mateya is a participant in the Plan under 29 U.S.C. § 1002(7)

because he is or may become eligible to receive a benefit under the Plan, or his

beneficiaries may be eligible to receive any such benefit.


                                           6
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 7 of 56 PageID #: 7




      29.    Plaintiff has Article III standing to bring this action on behalf of the

Plan because he suffered an actual injury to his own Plan account in which he is still

a Participant, that injury is fairly traceable to Defendants’ unlawful conduct, and the

harm is likely to be redressed by a favorable judgment. See 29 U.S.C. § 1132; see, e.g.,

Cutrone v. Allstate Corp., No. 20 CV 6463, 2021 U.S. Dist. LEXIS 185430, at *13–19,

2021 WL 4439415 (N.D. Ill. Sep. 28, 2021);.

      30.    Plaintiff and all Participants in the Plan suffered ongoing financial

harm as a result of Defendants’ continued imprudent and unreasonable investment

and fee decisions made with regard to the Plan.

      31.    Plaintiff and all participants in the Plan did not have knowledge of all

material facts (including, among other things, the RK&A Fees, investment

alternatives that are comparable to the investments offered within the Plan,

comparisons of the costs and investment performance of Plan investments versus

available alternatives within similarly-sized Plans, total cost comparisons to

similarly-sized Plans, and information regarding other available share classes)

necessary to understand that Defendants breached their fiduciary duties and

engaged in other unlawful conduct in violation of ERISA until shortly before this suit

was filed.

      32.    Plaintiff and all participants in the Plan, having never managed a large

401(k) Plan such as the Plan, lacked actual knowledge of reasonable-fee levels and

prudent alternatives available to such Plans.




                                           7
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 8 of 56 PageID #: 8




                                     Defendants

      33.    Cook Group is a for-profit domestic corporation organized under Indiana

law with its principal place of business in Bloomington, Indiana.

      34.    Cook Group is a global, family-owned group of businesses spanning

medical devices, life sciences, services, property management, and resorts. Cook

Group Incorporated is the Plan Sponsor and Plan Administrator under 29 U.S.C. §

1002(16)(A)(i) and (B)(i). See Part 2a and 3a of the Plan’s Form 5500 for 2019.

      35.    Cook Group, as the Plan Administrator, appointed the Profit Sharing

Plan Advisory Committee to administer the Plan.

      36.    The Profit Sharing Plan Advisory Committee is comprised of John R.

Kamstra, Robert L. Santa, Gregory S. Smith, and Tedd Green.

      37.    As the members of the Profit Sharing Plan Advisory Committee, John

R. Kamstra, Robert L. Santa, Gregory S. Smith, and Tedd Green each owed fiduciary

duties to the Plan and the Plan participants.

                    FACTS APPLICABLE TO ALL COUNTS

                      Defined-Contribution Plan Industry

      38.    In a defined-contribution plan, participants’ retirement benefits are

limited to the value of their own individual accounts, which is determined solely by

employee and employer contributions plus the amount gained through investment in

the options made available in the plan, less expenses. See 29 U.S.C. § 1002(34).

      39.    Accordingly, poor investment performance and unreasonable fees can

significantly impair the value of a participant’s account.


                                           8
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 9 of 56 PageID #: 9




         40.     Over time, even seemingly small differences in fees and performance can

result in vast differences in the amount of savings available at retirement. See, e.g.,

U.S. Dep’t of Labor, A Look at 401(k) Plan Fees 1–2 (Sept. 2019) (illustrating impact

of expenses with example in which 1% difference in fees and expenses over 35 years

reduces participant’s account balance at retirement by 28%).2

         41.     Over the past three decades, defined-contribution plans have become the

most common employer-sponsored retirement plan.

         42.     A defined-contribution plan allows employees to make pre-tax elective

deferrals through payroll deductions to an individual account under a plan.

         43.     Among many options, employers may make contributions on behalf of

all employees and/or make matching contributions based on the employees’ elective

deferrals. Employees with money in a plan are referred to as “participants.”

         44.     Recordkeeping and related administrative (“RK&A”) services are

necessary for all defined contribution plans.

         45.     These services include, but are not limited to, those related to

maintaining plan records, tracking participant account balances and investment

elections, transaction processing, call center support, participant communications,

and trust and custody services.

         46.     Defendants received a standard package of RK&A services.

         47.     Third-party service providers, often known as “recordkeepers,” provide

RK&A services on behalf of a defined-contribution plan.


2   Available at https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
    center/publications/a-look-at-401k-plan-fees.pdf (last visited June 27, 2022).
                                                    9
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 10 of 56 PageID #: 10




       48.    Some recordkeepers provide only recordkeeping and related services

 and some recordkeepers are subsidiaries of financial services and insurance

 companies that distribute mutual funds, insurance products, and other investment

 options.

       49.    The market for defined-contribution recordkeeping services is highly

 competitive, particularly for a plan like the Plan with large numbers of participants

 and large amounts of assets.

       50.    Since at least the mid-2000s, the fee that RK&A service providers have

 been willing to accept for providing RK&A services has decreased.

       51.    The underlying cost to a recordkeeper of providing the RK&A services

 to a defined-contribution plan is primarily dependent on the number of participant

 accounts in the Plan rather than the amount of assets in the Plan.

       52.    The incremental cost for a recordkeeper to provide RK&A services for a

 participant’s account does not materially differ from one participant to another and

 is generally not dependent on the balance of the participant’s account.

       53.    Recordkeepers for relatively large defined-contribution plans, like the

 Plan here, experience certain efficiencies of scale that lead to a reduction in the per-

 participant cost as the number of participants increases, because the marginal cost

 of adding an additional participant to a recordkeeping platform is relatively low.

       54.    These    economies    of   scale   are   inherent   in   all   recordkeeping

 arrangements for defined-contribution plans.

       55.    When the number of participants with an account balance increases in


                                            10
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 11 of 56 PageID #: 11




 a defined-contribution plan, the recordkeeper can spread the cost of providing

 recordkeeping services over a larger participant base, thereby reducing the unit cost

 of delivering services on a per-participant basis.

       56.    Therefore, while the total cost to a provider for RK&A services increases

 as more participants join the Plan, the cost per participant to deliver the services

 decreases.

       57.    Since at least the early 2000s, plan fiduciaries and their consultants and

 advisors have been aware of this cost-structure dynamic for RK&A providers.

       58.    Since at least the early 2000s, Defendants should have been aware of

 this cost-structure dynamic for RK&A providers.

       59.    Sponsors of defined-contribution plans contract for RK&A services

 separately from any contracts related to the provision of investment management

 services to plan participants.

       60.    The investment options selected by plan fiduciaries often have a portion

 of the total expense ratio allocated to the provision of recordkeeping services that the

 recordkeeper provides on behalf of the investment manager, e.g., RK&A services.

       61.    As a result, RK&A service providers often make separate contractual

 arrangements with mutual fund providers.

       62.    For example, RK&A providers often collect a portion of the total expense

 ratio fee of the mutual fund in exchange for providing services that would otherwise

 have to be provided by the mutual fund.

       63.    These fees are known in the defined-contribution industry as “revenue


                                           11
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 12 of 56 PageID #: 12




 sharing.”

       64.    For example, if a mutual fund has a total expense ratio fee of 0.75%, the

 mutual fund provider may agree to pay the RK&A provider 0.25% of the 0.75% total

 expense ratio fee that is paid by the investor in that mutual fund (in this context the

 Plan Participant).

       65.    That 0.25% portion of the 0.75% total expense ratio fee is known as the

 “revenue sharing.”

       66.    In the context of defined-contribution plans, the amount of revenue

 sharing is deemed to be the amount of revenue paid by participants that is allocable

 to RK&A services and, in some cases, other services provided to the Plan.

       67.    The difference between the total expense ratio and the revenue sharing

 is known as the “Net Investment Expense to Retirement Plans.”

       68.    In the context of defined-contribution plans, when a plan adopts prudent

 and best practices, the Net Investment Expense to Retirement Plans is the actual

 amount a plan participant pays for the investment management services provided by

 a portfolio manager.

       69.    In the context of defined-contribution plans, when multiple share

 classes of a mutual fund are available to a retirement plan, the share class that

 provides the lowest Net Investment Expense to Retirement Plans is often referred to

 as the “Most Efficient Share Class.”

       70.    Providers of Retirement Plan Services, including RK&A services,

 typically collect their fees through direct payments from the plan or through indirect


                                           12
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 13 of 56 PageID #: 13




 compensation such as revenue sharing, or some combination of both.

       71.    Regardless of the pricing structure that the Plan Fiduciary negotiates

 with the recordkeeper, the amount of compensation paid to the recordkeeper for the

 RK&A services must be reasonable.

       72.    As a result, plan Fiduciaries must understand the total dollar amounts

 paid to their RK&A provider and be able to determine whether the compensation is

 reasonable by understanding what the market is for the RK&A services received by

 the Plan.

       73.    Because RK&A fees are actually paid in dollars and because of the cost

 dynamic outlined above, the fees paid for RK&A services are evaluated and compared

 on a dollar-per-participant basis.

       74.    It is well known among retirement-plan consultants and advisors (who

 often act as co-fiduciaries to the plan fiduciaries) that, all else being equal, a plan

 with more participants can and will receive a lower effective per-participant fee when

 evaluated on a per-participant basis.

       75.    During the Class Period, Defendants knew and/or were aware that a

 plan with more participants can and will receive a lower effective per-participant fee

 when evaluated on a per-participant basis.

       76.    During the Class Period, Defendants knew and/or were aware that the

 Plan should have received a lower effective per-participant fee when evaluated on a

 per-participant basis.

       77.    Plan fiduciaries of a defined-contribution plan have a continuing and


                                           13
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 14 of 56 PageID #: 14




 regular responsibility to select and monitor all investment options they make

 available to plan participants. Tibble, 575 U.S. at 530.

       78.    The primary purpose in selecting plan investments is to give all

 participants the opportunity to create an appropriate asset allocation under modern

 portfolio theory by providing diversified investment alternatives. See 29 C.F.R. §

 2550.404c-1(b)(3).

       79.    In selecting different investment options to make available to plan

 participants, the plan fiduciaries are held to the prudent-investor standard when

 choosing investment managers or, alternatively, choosing index investment options.

 29 U.S.C. § 1104(a)(1).

       80.    When choosing an active investment option, the analysis is focused on

 determining whether the portfolio manager is likely to outperform an appropriate

 benchmark.

       81.    Accordingly, the primary focus when choosing an active investment

 option to make available to plan participants is the skill of the portfolio manager.

       82.    In many cases, a plan sponsor can receive the investment management

 services of the same portfolio manager through different share classes.

       83.    When the same investment management services are provided through

 a mutual fund with different share classes, the fee paid to the portfolio manager is

 the same for all share classes.

       84.    The difference in the share class fees is the amount of additional fees

 which can be used to pay for, among other things, RK&A services.


                                           14
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 15 of 56 PageID #: 15




       85.    As a result, when a prudent plan fiduciary can select from among several

 alternative share classes of the materially identical investment option, the prudent

 plan fiduciary selects the share class that provides the lowest Net Investment

 Management Expense to Retirement Plans.

                   ERISA’S FIDUCIARY STANDARDS AND
              STANDARD OF CARE FOR PRUDENT FIDUCIARIES
             SELECTING & MONITORING INVESTMENT OPTIONS

       86.    ERISA imposes strict fiduciary duties of loyalty and prudence upon

 Defendants as fiduciaries of the Plan. Allen v. GreatBanc Tr. Co., 835 F.3d 670, 678

 (7th Cir. 2016); Delker v. Mastercard Int'l, Inc., 21 F.4th 1019 (8th Cir. 2022) (“ERISA

 imposes upon fiduciaries twin duties of loyalty and prudence.” (cleaned up)).

       87.    29 U.S.C. § 1104(a), states, in relevant part, that:

              [A] fiduciary shall discharge his duties with respect to a Plan
              solely in the interest of the participants and beneficiaries and –
                 (A) for the exclusive purpose of:
                     (i) providing benefits to participants and their
                          beneficiaries; and
                     (ii) defraying reasonable expenses of administering the
                          Plan; [and]
                 (B) with the care, skill, prudence, and diligence under the
                     circumstances then prevailing that a prudent man acting
                     in a like capacity and familiar with such matters would use
                     in the conduct of an enterprise of like character and with
                     like aims.

       88.    With certain exceptions, 29 U.S.C. §1103(c)(1) provides in relevant part:

              [T]he assets of a Plan shall never inure to the benefit of any
              employer and shall be held for the exclusive purposes of providing
              benefits to participants in the Plan and their beneficiaries and
              defraying reasonable expenses of administering the Plan.

       89.    29 U.S.C. §1109 provides in relevant part:


                                           15
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 16 of 56 PageID #: 16




              Any person who is a fiduciary with respect to a Plan who breaches
              any of the responsibilities, obligations, or duties imposed upon
              fiduciaries by this subchapter shall be personally liable to make
              good to such Plan any losses to the Plan resulting from each such
              breach, and to restore to such Plan any profits of such fiduciary
              which have been made through use of assets of the Plan by the
              fiduciary, and shall be subject to such other equitable or remedial
              relief as the court may deem appropriate, including removal of
              such fiduciary.

        90.   Under ERISA, fiduciaries that exercise any authority or control over

 plan assets, including the selection of plan investments and service providers, must

 act prudently and solely in the interest of participants in the plan.

        91.   Fiduciaries must ensure that the amount of fees paid to those service

 providers is no more than reasonable. Dep’t of Labor Adv. Op. 97-15A; Dep’t of Labor

 Adv. Op. 97-16A; see also 29 U.S.C. § 1103(c)(1) (Plan assets “shall be held for the

 exclusive purposes of providing benefits to participants in the Plan and their

 beneficiaries and defraying reasonable expenses of administering the Plan”).

        92.   ERISA’s fiduciary duties are “the highest known to the law” and must

 be performed “with an eye single” to the interests of participants. Davis, 7 F.4th at

 546.

        93.   “[T]he duty to conduct an independent investigation into the merits of a

 particular investment” is “the most basic of ERISA’s investment fiduciary duties.” In

 re Unisys Savings Plan Litig., 74 F.3d 420, 435 (3d Cir. 1996); Katsaros v. Cody, 744

 F.2d 270, 279 (2nd Cir. 1984) (fiduciaries must use “the appropriate methods to

 investigate the merits” of Plan investments).

        94.   Fiduciaries must “initially determine, and continue to monitor, the


                                           16
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 17 of 56 PageID #: 17




 prudence of each investment option available to plan participants.” DiFelice v. U.S.

 Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007) (emphasis original); 29 C.F.R. §

 2550.404a-1; Dep’t of Labor Adv. Op. 98-04A; Dep’t of Labor Adv. Op. 88-16A.

       95.     Thus, a defined-contribution plan fiduciary cannot “insulate itself from

 liability by the simple expedient of including a very large number of investment

 alternatives in its portfolio and then shifting to the participants the responsibility for

 choosing among them.” Hecker v. Deere & Co., 569 F.3d 708, 711 (7th Cir. 2009).

       96.     Fiduciaries have “a continuing duty to monitor investments and remove

 imprudent ones[.]” Tibble, 673 U.S. at 530.

       97.     “Wasting   beneficiaries’   money    is   imprudent.    In   devising   and

 implementing strategies for the investment and management of trust assets, trustees

 are obligated to minimize costs.” Uniform Prudent Investor Act § 7.

       98.     An investment policy statement or IPS is a governing plan document

 within the meaning of 29 U.S.C. § 1104(a)(1)(D).

       99.     “Fiduciaries who are responsible for plan investments governed by

 ERISA must comply with the plan’s written statements of investment policy, insofar

 as those written statements are consistent with the provisions of ERISA.” Cal.

 Ironworkers Field Pension Trust v. Loomis Sayles & Co., 259 F.3d 1036, 1042 (9th

 Cir. 2001).

       100.    “[F]ailure to follow written statements of investment policy constitutes

 a breach of fiduciary duty.” Id. (citing Dardaganis v. Grace Capital, Inc., 889 F.2d

 1237, 1241–42 (2d Cir. 1989)).


                                            17
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 18 of 56 PageID #: 18




       101.   A violation of investment guidelines is an independent breach of

 fiduciary duty, regardless of whether the action was otherwise prudent. See 29 U.S.C.

 § 1104(a)(1)(D).

       102.   ERISA also imposes explicit co-fiduciary liability on plan fiduciaries. 29

 U.S.C. § 1105(a) provides for fiduciary liability for a co-fiduciary’s breach:

              In addition to any liability which he may have under any other
              provision of this part, a fiduciary with respect to a plan shall be
              liable for a breach of fiduciary responsibility of another fiduciary
              with respect to the same plan in the following circumstances:
                  (1) if he participates knowingly in, or knowingly undertakes to
                      conceal, an act or omission of such other fiduciary, knowing
                      such act or omission is a breach; or
                  (2) if, by his failure to comply with section 404(a)(1) in the
                      administration of his specific responsibilities which give
                      risk to his status as a fiduciary, he has enabled such other
                      fiduciary to commit a breach; or
                  (3) if he has knowledge of a breach by such other fiduciary,
                      unless he makes reasonable efforts under the
                      circumstances to remedy the breach.

       103.   29 U.S.C. § 1132(a)(2) authorizes a plan participant to bring a civil

 action to enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. § 1109.

       104.   29 U.S.C. § 1109(a) provides in relevant part:

              Any person who is a fiduciary with respect to a plan who breaches
              any of the responsibilities, obligations, or duties imposed upon
              fiduciaries by this subchapter shall be personally liable to make
              good to such plan any losses to the plan resulting from each such
              breach, and to restore to such plan any profits of such fiduciary
              which have been made through use of assets of the plan by the
              fiduciary, and shall be subject to such other equitable or remedial
              relief as the court may deem appropriate, including removal of
              such fiduciary.

       105.   A plan fiduciary is required to fully understand all sources of revenue

 received by its RK&A service provider/recordkeeper.

                                            18
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 19 of 56 PageID #: 19




        106.   A plan fiduciary must regularly monitor that revenue to ensure that the

 compensation received by the recordkeeper is and remains reasonable for the services

 provided. Henderson v. Emory Univ., 252 F. Supp.3d 1344, 1353 (N.D. Ga. 2017); Bell

 v. Pension Comm. of ATH Holding Co., No. 1:15-cv-02062-TWP-MPB, 63 Employee

 Benefits Cas. (BNA) 1502, 2017 U.S. Dist. LEXIS 42107, at *11–*14, 2017 WL

 1091248 (S.D. Ind. Mar. 23, 2017)

        107.   Prudent plan fiduciaries ensure they are paying only reasonable fees for

 RK&A services by soliciting competitive bids from other service providers to perform

 the same services currently being provided to the plan. George v. Kraft Foods Glob.,

 Inc., 641 F.3d 786, 798–800 (7th Cir. 2011); Cassell v. Vanderbilt Univ., 285 F. Supp.

 3d 1056, 1064–65 (M.D. Tenn. 2018).

        108.   This is not a difficult or complex process and is performed regularly by

 prudent plan fiduciaries.

        109.   Plan fiduciaries need only request a bid from salespeople at other service

 providers.

        110.   For plans with as many participants as the Plan, most recordkeepers

 require only the number of participants and the amount of the assets to provide a

 quote, while others only require the number of participants.

        111.   Prudent plan fiduciaries have all of this information readily available

 and can easily receive a quote from other service providers to determine if the current

 level of fees is reasonable.

        112.   Having received bids, the prudent plan fiduciary can negotiate with its


                                            19
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 20 of 56 PageID #: 20




 current provider for a lower fee and/or move to a new provider to provide the same

 (or better) services for a competitive reasonable fee.

       113.      Prudent plan fiduciaries follow this same process to monitor the fees of

 retirement plan advisors and/or consultants as well as any other covered service

 providers.

       114.      After the revenue requirement is negotiated, the plan fiduciary

 determines how to pay the negotiated RK&A fee.

       115.      The employer/plan sponsor can pay the recordkeeping fee on behalf of

 participants, which is the most beneficial to plan participants.

       116.      If the employer were paying the fee, the employer would have an interest

 in negotiating the lowest fee a suitable recordkeeper would accept.

       117.      Usually, however, the employer decides to have the plan (i.e. the plan

 participants) pay the recordkeeping fee instead.

       118.      If the recordkeeping fee is paid by the plan (i.e. plan participants), the

 plan fiduciary can allocate the negotiated recordkeeping fee among participant

 accounts at the negotiated per-participant rate, or pro-rata based on account values,

 among other less-common ways.

       119.      In other words, if a plan negotiates a per-participant revenue threshold,

 e.g., $45.00, the plan does not need to require that each participant pay $45.00.

       120.      Rather, the plan fiduciary could determine that an asset-based fee is

 more appropriate for plan participants and allocate the RK&A fee pro rata to

 participants.


                                              20
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 21 of 56 PageID #: 21




         121.   For example, a 10,000-participant plan with a $45.00 revenue threshold

 would pay $450,000 for RK&A services.

         122.   If the plan had $450,000,000 in assets, then the $450,000 would work

 out to 10 basis points.

         123.   Accordingly, the plan fiduciary could allocate the $450,000 to plan

 participants by requiring that each participant pay 10 basis points.

         124.   In an asset-based pricing structure, the amount of compensation

 received by the service provider is based on a percentage of the total assets in the

 plan.

         125.   This structure creates situations in which the RK&A services provided

 by the recordkeeper do not change but, because of market appreciation and

 contributions to the plan, the revenue received by the recordkeeper increases.

         126.   This structure was historically preferred by recordkeepers because it

 allowed recordkeepers to obtain an increase in revenue without having to ask the

 client to pay a higher fee.

         127.   Regardless of the pricing structure negotiated by the plan fiduciary, the

 plan fiduciary must ensure that the fee paid to the recordkeeper for RK&A services

 is reasonable for the level of services provided.

         128.   All of these standards were accepted and understood by prudent plan

 fiduciaries, including Defendants, at all times during the Class Period.

         129.   For example, fiduciary best practices based on DOL guidelines, caselaw,

 and marketplace experience are as follows:


                                            21
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 22 of 56 PageID #: 22




                 1. Price administrative fees on a per-participant basis.
                 2. Benchmark and negotiate recordkeeping and investment fees
                    separately.
                 3. Benchmark and negotiate investment fees regularly,
                    considering both fund vehicle and asset size.
                 4. Benchmark and negotiate recordkeeping and trustee fees at
                    least every other year.
                                             *****
                 7. Review services annually to identify opportunities to reduce
                    administrative costs.3

         130.    Defendants’     recordkeeper      during     the    Class    Period,     Fidelity

 Investments, is a well-known provider of RK&A services.

         131.    Prudent fiduciaries implement three related processes to prudently

 manage and control a plan’s recordkeeping costs. Tussey v. ABB, Inc., 746 F.3d 327,

 336 (8th Cir. 2014) (holding that fiduciaries of a 401(k) Plan “breach[] their fiduciary

 duties” when they “fail[] to monitor and control recordkeeping fees” incurred by the

 Plan); George, 641 F.3d at 800 (explaining that defined contribution plan fiduciaries

 have a “duty to ensure that [the recordkeeper’s] fees [are] reasonable”).

         132.    First, a plan fiduciary must pay close attention to the recordkeeping fees

 being paid by the plan.

         133.    A hypothetical prudent fiduciary tracks the recordkeeper’s expenses by

 demanding documents that summarize and contextualize the recordkeeper’s

 compensation, such as fee transparencies, fee analyses, fee summaries, relationship




 3   “Fiduciary Best Practices,” DC Fee Management — Mitigating Fiduciary Risk and Maximizing
     Plan Performance, Mercer Investment Consulting (2013), available at https://www.mercer.com/
     content/dam/mercer/attachments/global/Retirement/DC%20Fee%20Management%20-%20
     Mitigating%20Fiduciary%20Risk%20and%20Maximizing%20Plan%20Performance.pdf (last
     visited June 27, 2022).

                                                 22
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 23 of 56 PageID #: 23




 pricing analyses, cost-competitiveness analyses, and multi-practice and standalone

 pricing reports.

       134.   Second, to make an informed evaluation as to whether a recordkeeper

 or other service provider is receiving no more than a reasonable fee for the services

 provided to a plan, a prudent hypothetical fiduciary must identify all fees, including

 direct compensation and revenue sharing being paid to the plan’s recordkeeper.

       135.   To the extent that a plan’s investments pay asset-based revenue sharing

 to the recordkeeper, prudent fiduciaries monitor the amount of the payments to

 ensure that the recordkeeper’s total compensation from all sources does not exceed

 reasonable levels and require that any revenue sharing payments that exceed a

 reasonable level be returned to the plan and its participants.

       136.   Third, a hypothetical plan fiduciary must remain informed about overall

 trends in the marketplace regarding the fees being paid by other plans, as well as the

 recordkeeping rates that are available.

       137.   This will generally include conducting a request for proposal (“RFP”)

 process at reasonable intervals, and immediately if the plan’s recordkeeping expenses

 have grown significantly or appear high in relation to the general marketplace.

       138.   More specifically, an RFP should happen at least every three (3) years

 as a matter of course, and more frequently if the plans experience an increase in

 recordkeeping costs or fee benchmarking reveals the recordkeeper’s compensation to

 exceed levels found in other, similar plans.

       139.   That said, conducting an RFP is not required to determine a reasonable


                                           23
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 24 of 56 PageID #: 24




 RK&A fee.

       140.   By merely soliciting bids from other providers, a prudent plan fiduciary

 can quickly and easily gain an understanding of the current market for similar RK&A

 services and have an idea of a starting point for negotiation.

       141.   Accordingly, the only way to determine the true market price at a given

 time is to obtain competitive bids through some process. See George, 641 F.3d at 800

 (401(k) excessive fee case which denied summary judgment based in part on the

 opinion of an independent consultant that “‘without an actual fee quote comparison’—

 i.e., a bid from another service provider—[consultant] ‘could not comment on the

 competitiveness of [recordkeeper’s] fee amount for the services provided.’”).

       142.   For all practical purposes there is a commonly accepted process to select

 and monitor investment options which is based on modern portfolio theory and the

 prudent investor standard.

       143.   Under ERISA, plan fiduciaries are required to engage investment

 consultants or advisors to the extent that the plan Fiduciaries do not have the

 investment expertise necessary to select and monitor investments under modern

 portfolio theory.

       144.   That accepted process involves, among other things, evaluating the

 performance history, tenure, and stability of the current portfolio manager; the risk

 adjusted returns; and the fees.

       145.   When an active investment option is chosen, one of the most critical

 aspects of the analysis is to choose a portfolio manager because it is the skill of the


                                           24
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 25 of 56 PageID #: 25




 portfolio manager that differentially impacts the performance of the investment.

        146.   From the perspective of a plan participant, the other critical component

 of the analysis is the fees.

        147.   However, the total expense ratio of an investment option is often

 comprised of multiple layers of fees, only one of which is specifically associated with

 the fee of the actual portfolio manager.

        148.   As a result, a plan fiduciary is required to understand the

 interrelationship between the pricing structure it has negotiated with the

 recordkeeper for RK&A services as well as the different fee components of the

 investment options selected to be made available to plan participants.

        149.   Plan fiduciaries of plans as large as the Plan are deemed to be

 “institutional investors” and are deemed to have a higher level of knowledge and

 understanding of the different investment share classes and the different components

 of fees within the total expense ratio of an investment option.

        150.   In fact, as institutional investors, retirement plans often have the ability

 to access investment options and service structures that are not available or

 understood by retail investors such as individual plan participants, like Plaintiff.

        151.   For example, minimum investment requirements and other fees or

 restrictions are routinely waived for large retirement plans.

        152.   As a result, when a plan fiduciary can choose among different share

 classes (or other types of investment options, e.g., collective trusts) to receive the

 services of a specific portfolio manager, the plan fiduciary is required to understand


                                            25
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 26 of 56 PageID #: 26




 all the fees related to the different share classes and choose the share class that is in

 the best interest of the plan participants.

       153.     This is especially critical when the pricing structure provides

 compensation to the recordkeeper from revenue sharing paid by plan participants as

 part of the total expense ratio of the investment options selected by the plan

 fiduciaries.

       154.     If a plan fiduciary chooses an active investment option when an

 alternative index option is available, the plan fiduciary must make a specific and

 informed finding that the probability that the active portfolio manager will

 outperform the index warrants the higher fees charged by the active portfolio

 manager and the risk/reward tradeoffs show that the potential of outperformance is

 in the best interest of plan participants.

       155.     It is not enough to simply observe that an active investment option could

 outperform another active or passive option; there must be a prudent process to

 determine if that is likely to happen.

       156.     If a plan fiduciary chooses an active investment option when an

 alternative index option is available, but the plan fiduciary does not make a specific

 and informed finding that the probability that the active portfolio manager will

 outperform the index (and warranting the higher fees charged by the active portfolio

 manager) and the risk/reward tradeoffs show that the potential of outperformance is

 in the best interest of plan participants, the plan fiduciary has acted unreasonably

 and/or imprudently.


                                              26
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 27 of 56 PageID #: 27




                                     THE PLAN

       157.   At all relevant times, the Plan’s fees were excessive when compared with

 other comparable 401(k) plans offered by other sponsors that had similar numbers of

 plan participants, and similar amounts of money under management.

       158.   The fees were also excessive relative to the RK&A services received.

       159.   These excessive fees led to lower net returns than participants in

 comparable 401(k) plans enjoyed.

       160.   Defendants controlled the investment options in which the participants

 could invest their retirement assets.

       161.   As of September 30, 2021, Defendants provided 31 investment options:

                        Investment Options                          Assets as of
                                                                     9/30/2021
         FID GROWTH CO K6                                            $ 169,196,407
         AF TRGT DATE 2030 R6                                        $ 109,165,387
         AF TRGT DATE 2040 R6                                        $    92,833,783
         AF TRGT DATE 2045 R6                                        $    74,785,463
         AF TRGT DATE 2050 R6                                        $    72,433,282
         AF TRGT DATE 2035 R6                                        $    66,368,117
         FID 500 INDEX                                               $    60,039,369
         PIM TOTAL RT INST                                           $    57,582,804
         AF TRGT DATE 2025 R6                                        $    57,345,790
         COL DIVIDEND INC I                                          $    52,200,549
         AF TRGT DATE 2020 R6                                        $    51,534,854
         NYL GUAR INT ACCOUNT                                        $    50,029,652
         AF EUROPAC GROWTH R6                                        $    47,447,260
         AF FUNDMNTL INV R6                                          $    38,229,850
         AF TRGT DATE 2055 R6                                        $    37,508,925
         FID LOW-PRICED ST K6                                        $    22,410,998
         FID PURITAN K                                               $    22,062,076
         AF TRGT DATE 2060 R6                                        $    19,252,845
         FID MID CAP IDX                                             $    12,273,018
         FID SMALL CAP GR K6                                         $    12,094,516
         FID SM CAP IDX                                              $    11,084,191

                                          27
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 28 of 56 PageID #: 28




         AF TRGT DATE 2010 R6                                          $    10,793,160
         VANG STRATEGIC EQ                                             $    10,388,396
         UM BEHAVIORAL VAL R6                                          $     8,249,577
         AF TRGT DATE 2015 R6                                          $     7,488,075
         BLKRK STR INC OPP IS                                          $     5,339,290
         VANGUARD LS GROWTH                                            $     4,391,358
         VANGUARD LS INCOME                                            $     3,155,360
         FID FREEDOM INC K                                             $     2,841,432
         VAN LS CONSERV GRTH                                           $     2,797,413
         VAN LS MODERATE GRTH                                          $     1,882,276
                              INVESTMENT TOTALS                        $ 1,193,205,473

                      Unreasonable Investment Management
              Fees from Excessively High-Priced Investment Options

       162.    Academic and financial industry literature shows the importance of low

 fees in selecting investments.

       163.    Numerous scholars have demonstrated that high expenses are not

 correlated with superior investment management.

       164.    Indeed, funds with high fees on average perform worse than less

 expensive funds even on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When

 Cheaper is Better: Fee Determination in the Market for Equity Mutual Funds, 67 J.

 ECON. BEHAV. & ORG. 871, 873 (2009); see also Jill E. Fisch, Rethinking the Regulation

 of Securities Intermediaries, 158 U. PA. L. REV. 1961, 1993 (2010) (summarizing

 numerous studies showing that “the most consistent predictor of a fund’s return to

 investors is the fund’s expense ratio”).

       [T]he empirical evidence implies that superior management is not priced
       through higher expense ratios. On the contrary, it appears that the
       effect of expenses on after-expense performance (even after controlling
       for funds’ observable characteristics) is more than one-to-one, which
       would imply that low-quality funds charge higher fees. Price and quality
       thus seem to be inversely related in the market for actively managed
       funds.
                                            28
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 29 of 56 PageID #: 29




 Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.

       165.   Even if an individual high-cost mutual fund exhibits market-beating

 performance over a short period of time, studies demonstrate that outperformance

 during a particular period is not predictive of whether a mutual fund will perform

 well in the future. Laurent Barras et al., False Discoveries in Mutual Fund

 Performance: Measuring Luck in Estimated Alphas, 65 J. FIN. 179, 181 (2010); Mark

 M. Carhart, On Persistence in Mutual Fund Performance, 52 J. FIN. 57, 57, 59 (1997)

 (measuring thirty-one years of mutual fund returns and concluding that “persistent

 differences in mutual fund expenses and transaction costs explain almost all of the

 predictability in mutual fund returns”).

       166.   However, the worst- performing mutual funds show a strong, persistent

 tendency to continue their poor performance. Carhart, On Persistence in Mutual

 Fund Performance, at 57.

       167.   To the extent managers show any sustainable ability to beat the market,

 the outperformance is nearly always dwarfed by mutual fund expenses. Eugene F.

 Fama & Kenneth R. French, Luck Versus Skill in the Cross-Section of Mutual Fund

 Returns, 65 J. FIN. 1915, 1931–34 (2010); Russ Wermers, Mutual Fund Performance:

 An Empirical Decomposition into Stock-Picking Talent, Style, Transaction Costs, and

 Expenses, 55 J. FIN. 1655, 1690 (2000).

       168.   Accordingly, investment costs are of paramount importance to prudent

 investment selection, and a prudent investor will not select higher-cost, actively

 managed funds without a documented process to realistically conclude that the fund

                                            29
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 30 of 56 PageID #: 30




 is likely to be that extremely rare exception, if one even exists, that will outperform

 its benchmark index over time, net of investment expenses.

       169.   Rather than taking advantage of the Plan’s economies of scale to reduce

 the investment expenses charged to Plan participants, Defendants selected and

 maintained high-priced share classes of mutual funds, instead of materially identical

 lower-cost share classes of those same mutual funds which were readily available to

 the Plan.

       170.   Defendants also failed to adequately investigate and offer non-mutual

 fund alternatives, such as collective trusts and separately managed accounts, to

 further reduce the investment expenses charged to Plan participants.

       171.   Holders of large pools of assets know that these investment vehicles are

 readily available to them and can be used for the same investment style and with the

 same portfolio manager, but are much less expensive.

       172.   Each mutual fund in the Plan charged fees far in excess of the rates

 Defendants could have obtained for the Plan by using these comparable products.

       173.   It is a simple principle of investment management that the larger the

 size of an investor’s available assets, the lower the investment management fees as a

 percentage of assets that the investor can obtain in the market.

       174.   Many mutual funds offer multiple classes of shares in a single mutual

 fund that are targeted at different investors.

       175.   Generally, more expensive shares are targeted at small investors with

 less bargaining power, while lower cost shares are targeted at larger investors with


                                           30
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 31 of 56 PageID #: 31




 greater assets.

          176.   There is no material difference between share classes other than costs—

 the funds hold materially identical investments and have the same portfolio manager.

          177.   Thus, large retirement plans have substantial bargaining power to

 negotiate lower fees for investment management services.

          178.   Jumbo retirement plans, such as the Plan, have much more bargaining

 power to negotiate lower fees for investment management services than even large

 plans.

          179.   Lower-cost institutional share classes of mutual funds compared to

 high-priced retail shares are readily available to institutional investors, like the Plan,

 or even smaller asset holders, that meet minimum investment amounts for these

 share classes.

          180.   So, unlike individual or retail investors, retirement plan fiduciaries

 often have access to several different share classes.

          181.   A prudent plan fiduciary ensures that the plan selects the share class

 that provides the greatest benefit to plan participants given the institutional

 advantages provided to retirement plans in relation to retail investors.

          182.   The share class that provides the greatest benefit to plan participants is

 the share class that gives plan participants access to the portfolio managers at the

 lowest net fee for the services of the portfolio manager and is referred to as the “Net

 Investment Expense to Retirement Plans.”

          183.   Choosing the share class that provides the lowest Net Investment


                                              31
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 32 of 56 PageID #: 32




 Expense to Retirement Plans is always the prudent choice because, all else being

 equal, the use of the share class that provides the lowest Net Investment Expense to

 Retirement Plans will result in one of the following superior options: (1) The amount

 of the fee extraction to cover the RK&A fee will be lower; or (2) the amount of excess

 revenue being credited back to participant accounts is greater.

          184.   During the Class Period, Defendants knew or should have known that

 they were required to select the share classes that provided the greatest benefit to

 plan participants, i.e., the lowest Net Investment Expense to Retirement Plans.

          185.   During the Class Period, Defendants knew or should have known that

 it must engage in an objectively reasonable search for and selection of the share

 classes that provide the greatest benefit to plan participants, i.e., the lowest Net

 Investment Expense to Retirement Plans.

          186.   During the Class Period, Defendants did not use share classes that

 provided the greatest benefit to Plan Participants in at least two instances.

          187.   During the Class Period, Defendants did not engage in an objectively

 reasonable search for and selection of the share classes that provided the greatest

 benefit to Plan Participants, i.e., the lowest Net Investment Expense to Retirement

 Plans.

          188.   During the Class Period, Defendants imprudently and disloyally

 provided Participants more expensive share classes of the mutual funds, even

 though the materially identical investments were available to the Plan at much

 lower costs.


                                           32
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 33 of 56 PageID #: 33




         189.        Illustrating Defendants’ breaches of their fiduciary duties, Defendants

 could have chosen the following mostly passive materially identical investments

 and effectuated millions of dollars of savings:

       Current                                         Materially
                                                                                   Materially
        Plan             Expense      Plan’s            Identical        Expense                     Plan's
                                                                                   Identical
       Mutual             Ratio        Fee             Lower-Cost         Ratio                      Excess
                                                                                   Fund Fee
        Fund                                          Mutual Fund
                                                   Vanguard Total
  AmFunds EuroPac
                          0.46%      $200,271.42   International Stock    0.11%      $47,890.99     $152,380.43
  Growth R6
                                                   Index
  Columbia Dividend                                Vanguard Value
                          0.67%      $335,355.15                          0.04%      $20,021.20     $315,333.95
  Income Fund Inst                                 Index I
  Fidelity Growth                                  Vanguard Growth
                          0.45%      $393,541.20                          0.04%      $34,981.44     $358,559.76
  Company K6                                       Index Institutional
  Undiscovered                                     Vanguard Small
  Managers                0.86%       $85,582.38   Cap Value Index        0.07%       $6,966.01      $78,616.37
  Behavioral Value R6                              Adm
  American Funds Tgt                               Fidelity Freedom
                          0.30%       $35,393.27                          0.06%       $7,078.65      $28,314.62
  Date 2010 R6                                     2010 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.30%       $24,143.26                          0.06%       $4,828.65      $19,314.61
  Date 2015 R6                                     2015 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.31%      $162,400.09                          0.06%      $31,432.28     $130,967.81
  Date 2020 R6                                     2020 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.33%      $182,544.16                          0.06%      $33,189.85     $149,354.31
  Date 2025 R6                                     2025 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.35%      $349,731.63                          0.06%      $59,953.99     $289,777.64
  Date 2030 R6                                     2030 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.37%      $220,157.43                          0.06%      $35,701.20     $184,456.23
  Date 2035 R6                                     2035 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.38%      $317,783.61                          0.06%      $50,176.36     $267,607.25
  Date 2040 R6                                     2040 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.39%      $257,393.19                          0.06%      $39,598.95     $217,794.24
  Date 2045 R6                                     2045 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.39%      $252,241.03                          0.06%      $38,806.31     $213,434.72
  Date 2050 R6                                     2050 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.39%      $123,626.13                          0.06%      $19,019.40     $104,606.73
  Date 2055 R6                                     2055 Indx Premier
  American Funds Tgt                               Fidelity Freedom
                          0.40%       $54,658.52                          0.06%       $8,198.78      $46,459.74
  Date 2060 R6                                     2060 Indx Premier
                                                   Fidelity Freedom
  Fidelity Freedom
                          0.42%       $10,642.32   Income Indx            0.06%       $1,520.33       $9,121.99
  Inc K
                                                   Premier
                                                   Vanguard Growth
  Fidelity Puritan K      0.43%       $84,075.89                          0.04%       $7,821.01      $76,254.88
                                                   Index Institutional
  BlackRock Strategic                              Vanguard Multi-
  Income Opps             0.76%       $35,920.64   Sector Income Bond     0.03%       $1,417.92      $34,502.72
  Portfolio Instl                                  Adm
                                                   Vanguard Total
  PIMCO Total
                          0.47%      $301,866.67   Bond Marlet Index      0.04%      $22,479.43     $279,387.24
  Return Inst
                                                   I
                         TOTAL:    $3,596,626.51                         TOTAL:     $640,381.29   $2,956,245.22


         190.        Further illustrating Defendants’ breaches of their fiduciary duties,

 Defendants could have chosen a blended portfolio of active and passive investments,

 it still would have amounted to millions of dollars of savings each year:
                                           33
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 34 of 56 PageID #: 34



       Current                                          Materially
                                                                                   Materially
        Plan             Expense       Plan’s            Identical      Expense                      Plan's
                                                                                   Identical
       Mutual             Ratio         Fee            Lower-Cost        Ratio                       Excess
                                                                                   Fund Fee
        Fund                                          Mutual Fund
                                                    Vanguard
  AmFunds EuroPac
                          0.46%       $200,271.42   International        0.32%      $139,319.25      $60,952.17
  Growth R6
                                                    Growth Adm
                                                    Columbia
  Columbia Dividend
                          0.67%       $335,355.15   Dividend Income      0.56%      $280,296.84      $55,058.31
  Income Fund Inst
                                                    Fund Inst3
                                                    Vanguard Growth
  Fidelity Growth
                          0.45%       $393,541.20   Index                0.04%       $34,981.44     $358,559.76
  Company K6
                                                    Institutional
  Undiscovered
  Managers                                          DFA US Small
                          0.86%        $85,582.38                        0.30%       $29,854.32      $55,728.06
  Behavioral Value                                  Cap Value I
  R6
  American Funds                                    Fidelity Freedom
                          0.30%        $35,393.27                        0.06%        $7,078.65      $28,314.62
  Tgt Date 2010 R6                                  2010 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.30%        $24,143.26                        0.06%        $4,828.65      $19,314.61
  Tgt Date 2015 R6                                  2015 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.31%       $162,400.09                        0.06%       $31,432.28     $130,967.81
  Tgt Date 2020 R6                                  2020 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.33%       $182,544.16                        0.06%       $33,189.85     $149,354.31
  Tgt Date 2025 R6                                  2025 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.35%       $349,731.63                        0.06%       $59,953.99     $289,777.64
  Tgt Date 2030 R6                                  2030 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.37%       $220,157.43                        0.06%       $35,701.20     $184,456.23
  Tgt Date 2035 R6                                  2035 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.38%       $317,783.61                        0.06%       $50,176.36     $267,607.25
  Tgt Date 2040 R6                                  2040 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.39%       $257,393.19                        0.06%       $39,598.95     $217,794.24
  Tgt Date 2045 R6                                  2045 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.39%       $252,241.03                        0.06%       $38,806.31     $213,434.72
  Tgt Date 2050 R6                                  2050 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.39%       $123,626.13                        0.06%       $19,019.40     $104,606.73
  Tgt Date 2055 R6                                  2055 Indx Premier
  American Funds                                    Fidelity Freedom
                          0.40%        $54,658.52                        0.06%        $8,198.78      $46,459.74
  Tgt Date 2060 R6                                  2060 Indx Premier
                                                    Fidelity Freedom
  Fidelity Freedom
                          0.42%        $10,642.32   Income Indx          0.06%        $1,520.33       $9,121.99
  Inc K
                                                    Premier
                                                    Fidelity Puritan
  Fidelity Puritan K      0.43%        $84,075.89                        0.32%       $62,568.11      $21,507.78
                                                    K6
  BlackRock                                         Columbia
  Strategic Income        0.76%        $35,920.64   Strategic Income     0.58%       $27,413.12       $8,507.52
  Opps Portfolio Instl                              Inst3
  PIMCO Total                                       Vanguard CORE
                          0.47%       $301,866.67                        0.10%       $64,226.95     $237,639.72
  Return Inst                                       Bond
                           TOTAL:   $3,596,626.51                       TOTAL:    $1,137,463.31   $2,459,163.20


          191.       These lower-cost share classes of the materially identical mutual funds

 along with other substantially identical funds were available to the Plan during the

 Class Period.

          192.       Plan Participants thus paid far higher fees than they should have, which

 resulted in receiving lower returns on their retirement investments, and fewer

                                                       34
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 35 of 56 PageID #: 35




 retirement assets to build for the future, than they would have obtained had

 Defendants performed their fiduciary duties.

       193.   Because Defendants imprudently and disloyally provided Participants

 the much more expensive versions of the Plan’s same mutual fund options during

 these dates, Plan Participants lost over $10 million of their retirement savings

 through unnecessary expenses.

                        Excessive Recordkeeping and
                     Administrative Services (“RK&A”) Fees

       194.   Fidelity   Investments    Institutional   (“Fidelity”)   is   the   Plan’s

 Recordkeeper.

       195.   Fidelity receives RK&A fees for its recordkeeping and administrative

 services.

       196.   As of December 13, 2021, Fidelity received $46 per Plan Participant as

 RK&A fees.

       197.   Those fees and the fees collected by Fidelity for the entire Class Period

 far exceed reasonable fees that were easily obtainable by the Plan in the market.

       198.   At all relevant times, the Plan’s fees were excessive when compared with

 other comparable 401(k) Plans offered by other sponsors that had similar numbers of

 plan participants, and similar amounts of money under management.

       199.   The fees were also excessive relative to the RK&A services received.

       200.   These excessive fees led to lower net returns than participants in

 comparable 401(k) plans enjoyed.

       201.   During the Class Period, Defendants breached their duties owed to the

                                          35
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 36 of 56 PageID #: 36




 Plan, to Plaintiff, and all other Plan participants, by: (1) failing to objectively and

 adequately review the Plan’s investment portfolio with due care to ensure that each

 investment share class was prudent, in terms of cost; (2) maintaining certain share

 classes in the Plan despite the availability of materially identical or substantially

 similar investment options with lower costs and/or better performance histories; and

 (3) by failing to monitor the RK&A fees paid by the Plan to ensure that they were

 objectively reasonable and, as a result, authorizing the Plan to pay objectively

 unreasonable and excessive RK&A fees, relative to the RK&A services received.

         202.   Defendants’ mismanagement of the Plan, to the detriment of Plan

 Participants and beneficiaries, breached the fiduciary duties of prudence and loyalty

 in violation of 29 U.S.C. § 1104.

         203.   Recordkeeping is a service necessary for every defined-contribution

 plan.

         204.   The market for recordkeeping services is highly competitive.

         205.   There are numerous recordkeepers in the marketplace who are capable

 of providing a high level of service to a jumbo, defined-contribution plan, like the Plan,

 and will readily respond to a request for proposal.

         206.   These recordkeepers primarily differentiate themselves based on price,

 and vigorously compete for business by offering the best price.

         207.   The cost of recordkeeping services depends on the number of

 participants, not on the amount of assets in the participant’s account.

         208.   Thus, the cost of providing recordkeeping services to a participant with


                                            36
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 37 of 56 PageID #: 37




 a $100,000 account balance is the same for a participant with $1,000 in her

 retirement account.

         209.   Plans with large numbers of participants can take advantage of

 economies of scale: a plan with 10,000 participants can negotiate a much lower per

 participant fee for recordkeeping services than a plan with 500 participants.

         210.   Because recordkeeping costs are not affected by account size, prudent

 fiduciaries of defined-contribution plans negotiate recordkeeping fees on the basis of

 a fixed-dollar amount per participant in the plan rather than as a percentage of

 plan assets.

         211.   Otherwise, as plan assets increase, such as through participant

 contributions or investment gains, the recordkeeping compensation increases without

 any change in the recordkeeping and administrative services, leading to excessive

 fees.

         212.   Mutual funds have thousands of shareholders and the expense ratio for

 those funds includes within it a portion for recordkeeping those thousands of

 shareholders’ accounts.

         213.   But, since a 401(k) plan invests in a mutual fund as a single investor,

 the mutual fund has only one account to recordkeep.

         214.   The plan recordkeeper tracks the account of each plan participant.

         215.   In these circumstances, some mutual funds engage in a practice known

 as revenue sharing.

         216.   In a revenue-sharing arrangement, a mutual fund or other investment


                                           37
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 38 of 56 PageID #: 38




 vehicle directs a portion of the annual expense ratio—the asset-based fees it charges

 to investors—to the 401(k) plan’s recordkeeper putatively for providing recordkeeping

 and administrative services for the mutual fund.

       217.   Because revenue sharing arrangements provide asset-based fees,

 prudent fiduciaries must monitor the total amount of revenue sharing a recordkeeper

 receives to ensure that the recordkeeper is not receiving unreasonable compensation.

       218.   A prudent fiduciary ensures that the recordkeeper rebates to the plan

 all revenue-sharing payments that exceed a reasonable, flat, per-participant

 recordkeeping fee that can be obtained from the recordkeeping market through

 competitive bids.

       219.   Because revenue sharing payments are asset based, they can provide

 excessive compensation as investment assets increase (such as through participant

 contributions or investment gains) without any change in recordkeeping services.

       220.   To ensure that RK&A fees are and remain reasonable for the services

 provided, prudent fiduciaries of large defined-contribution plans put the plan’s

 recordkeeping and administrative services out for competitive bidding at regular

 intervals of approximately three years, and monitor recordkeeping costs regularly

 within that period.

       221.   In order to make an informed assessment as to whether a recordkeeper

 is receiving no more than reasonable compensation for the services provided to a plan,

 the responsible fiduciary must identify all fees, including recordkeeping fees and

 other sources of compensation, paid to the service provider.


                                          38
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 39 of 56 PageID #: 39




       222.   Upon information and belief, Defendants failed to conduct a competitive

 bidding process for the Plan’s recordkeeping services.

       223.   A competitive bidding process for the Plan’s recordkeeping services

 would have produced a reasonable recordkeeping fee for the Plan long ago.

       224.   By failing to engage in a competitive bidding process for the Plan

 recordkeeping fees, Defendants caused the Plan to pay excessive recordkeeping fees.

       225.   If a defined-contribution plan overpays for recordkeeping services due

 to the fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries

 have breached their duty of prudence. See George, 641 F.3d at 798–99.

       226.   Similarly, “us[ing] revenue sharing to benefit [the plan sponsor and

 recordkeeper] at the Plan’s expense” while “failing to monitor and control

 recordkeeping fees” and “paying excessive revenue sharing” is a breach of fiduciary

 duties. Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th Cir. 2014).

       227.   Defendants failed to prudently monitor and control Vanguard’s

 recordkeeping compensation to ensure that only reasonable fees were paid for

 recordkeeping and administrative services.

       228.   Had Defendants ensured that participants were only charged

 reasonable fees for administrative and recordkeeping services, Plan Participants

 would not have lost millions of dollars in their retirement savings through

 unreasonable recordkeeping and administrative fees.

       229.   Compared to the $46 per-Participant, per-annum RK&A fee charged to

 the Plan Participants as of December 2021, other similarly situated plans received


                                           39
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 40 of 56 PageID #: 40




 substantially materially identical services for much less:

                                                               RK&A Per
     Plan        Participants       Assets        RK&A Price                Recordkeeper
                                                               Particpant
     Under
                    4,485         $179,198,512      $89,400       $20       T. Rowe Price
    Armour
  Sanofi U.S.
     Group
                    24,097      $5,522,720,874      $558,527      $23       T. Rowe Price
    Savings
      Plan
    Thermo
     Fisher
   Scientific
                    35,739      $4,320,623,419      $178,795      $5        T. Rowe Price
  Inc. 401(K)
  Retirement
      Plan
  Cook Plan
                    12,341      $1,193,205,473      $567,686      $46         Fidelity
    401(K)

       230.     During the entirety of the Class Period, and unlike a hypothetical

 prudent fiduciary, Defendants did not regularly and/or reasonably assess the Plan’s

 RK&A fees it paid to Fidelity.

       231.     During the entirety of the Class Period, and unlike a hypothetical

 prudent fiduciary, Defendants did not engage in any regular and/or reasonable

 examination and competitive comparison of the RK&A fees it paid to Fidelity vis-à-

 vis the fees that other RK&A providers would charge for the same services.

       232.     During the entirety of the Class Period, Defendants knew or had

 knowledge that it must engage in regular and/or reasonable examination and

 competitive comparison of the Plan’s administrative costs and RK&A fees it paid to

 Fidelity, but Defendants simply failed to do so.

       233.     During the entirety of the Class Period, had Defendants engaged in any

 regular and/or reasonable examination and competitive comparison of the RK&A fees

 it paid to Fidelity, it would have realized and understood that the Plan was
                                             40
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 41 of 56 PageID #: 41




 compensating Fidelity unreasonably and inappropriately for its size and scale,

 passing these objectively unreasonable and excessive fee burdens to Plaintiff and the

 Plan participants.

       234.   The fees were also excessive relative to the RK&A services received

 given the services received were the normal bundle of services a plan the size of the

 Plan would receive.

       235.   During the entirety of the Class Period, by failing to recognize that the

 Plan and its participants were being charged much higher administrative costs and

 RK&A fees than they should have been and/or by failing to take effective remedial

 actions as described herein, Defendants breached their fiduciary duties to Plaintiff

 and the Plan participants.

       236.   This breach caused Plaintiff and Class Members millions of dollars in

 losses to the Plan.

                       Exhaustion of Administrative Remedies

       237.   Plaintiff has attempted vigorously to meaningfully assert any rights

 afforded him and comply with any obligations incumbent upon him by the Plan.

       238.   Plaintiff has, however, been prevented from meaningfully asserting his

 rights and discovering what, if any, further obligations he may have placed upon him.

       239.   Prior to litigation, Plaintiff and those acting on his behalf, made

 multiple requests to Defendants and Fidelity requesting the Plan Documents and

 other related documents.

       240.   Defendants and Fidelity refused to provide the necessary Plan


                                          41
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 42 of 56 PageID #: 42




 Documents and other related documents to Plaintiff.

        241.     As a result, Plaintiff has not been apprised of nor afforded the

 opportunity to know what, if any, obligations exist under the Plan to exhaust

 administrative remedies.

        242.     As such, Plaintiff has been denied meaningful access to administrative

 procedures by Defendants and Fidelity.

        243.     Further, on information and belief, the relief sought herein falls outside

 the scope of any exhaustion requirement of the Plan.

        244.     The Summary Plan Description provided to the Plaintiff, in relevant

 part, states:

                 If your claim for a retirement benefit is denied or ignored, in
                 whole or in part, you have a right to know why this was done, to
                 obtain copies of documents relating to the decision, without
                 charge, and to appeal any denial, all within certain time
                 schedules and under the Plan’s claim procedures.

                 Under ERISA, there are steps you can take to enforce the above
                 rights. For instance, if you request a copy of Plan documents or
                 the latest annual report from the Plan and do not receive them
                 within 30 days, you may file suit in a federal court. In such a case,
                 the court may require the Plan Administrator to provide the
                 materials and pay you up to $110 a day until you receive the
                 materials, unless the materials were not sent because of reasons
                 beyond the control of the Administrator. If you have a claim for
                 benefits which is denied or ignored, in whole or in part, and you
                 have exhausted the claims procedures available to you under the
                 Plan, you may file suit in a state or federal court no later than
                 three years after you have filed the initial claim for benefits. In
                 addition, if you disagree with the Plan’s decision or lack thereof
                 concerning the qualified status of a Domestic Relations Order,
                 you may file suit in federal court.

                 If it should happen that Plan fiduciaries misuse the Plan’s money,
                 or if you are discriminated against for asserting your rights, you

                                              42
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 43 of 56 PageID #: 43




              may seek assistance from the U.S. Department of Labor, or you
              may file suit in a federal court. The court will decide who should
              pay court costs and legal fees. If you are successful, the court may
              order the person you have sued to pay these costs and fees. If you
              lose, the court may order you to pay these costs and fees, for
              example, if it finds your claim is frivolous.

       245.   The information provided to Plaintiff in the Summary Plan Description

 plainly demonstrates that the relief sought herein is not subject to an exhaustion

 requirement.

       246.   If the Plan Documents purport to require exhaustion in order to pursue

 the relief sought herein, the conduct of Defendants and Fidelity in preventing

 Plaintiff from obtaining the relevant Plan Documents prior to initiating this litigation

 has waived any such requirement to exhaust under the Plan Documents.

       247.   Moreover, any administrative appeal would be futile because the entity

 hearing the appeal (the Plan administrator) is the same Plan administrator that

 made the decisions that are at issue in this lawsuit.

       248.   Policy supporting exhaustion of administrative remedies in certain

 circumstances—that the Court should review and where appropriate defer to a plan

 administrator’s decision—does not exist here because courts will not defer to Plan

 administrator’s legal analyses and interpretation.

       249.   The claims brought by the Plaintiff arise from fiduciary breaches as to

 the Plan in its entirety and do not involve mismanagement of individual accounts.

       250.   Exhaustion is intended to serve as an administrative procedure for

 participants and beneficiaries whose claims have been denied and not where a

 participant or beneficiary brings suit on behalf of a plan for breaches of fiduciary

                                           43
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 44 of 56 PageID #: 44




 duty.

         251.   Under ERISA, an individual “participant” or “beneficiary” are distinct

 from an ERISA Plan.

         252.   A participant’s obligation—such as a requirement to exhaust

 administrative remedies—does not, by itself, bind the Plan.

                           CLASS ACTION ALLEGATIONS

         253.   29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of the

 Plan to bring an action individually on behalf of the Plan to enforce a breaching

 fiduciary’s liability to the Plan under 29 U.S.C. § 1109(a).

         254.   In acting in this representative capacity and to enhance the due-process

 protections of unnamed participants and beneficiaries of the Plan, as an alternative

 to direct individual actions on behalf of the Plan under 29 U.S.C. §§ 1132(a)(2) & (3),

 Plaintiff seeks to certify this action as a class action on behalf of all participants and

 beneficiaries of the Plan.

         255.   Plaintiff seeks to certify, and to be appointed as representatives of, the

 following Class:

                All persons who participated in the Plan at any time during the
                Class Period, including any Beneficiary of a deceased person who
                participated in the Plan, at any time during the Class Period,
                and/or Alternate Payee, in the case of a person subject to a
                Qualified Domestic Relations Order who participated in the Plan
                at any time during the Class Period. Excluded from the Class are:
                (i) all persons who were members of the Profit Sharing Plan
                Advisory Committee during the Class Period; and (ii) all persons
                who constituted a managing officer or director for any Defendant
                during the Class Period.

         256.   The “Class Period” runs from six years prior to the date this action was

                                             44
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 45 of 56 PageID #: 45




 first commenced through the date of judgment.

       257.   This action meets the requirements of Federal Rule of Civil Procedure

 23 and is certifiable as a class action for the following reasons:

              a.     The Class includes over 12,000 members and is so large that

       joinder of all its members is impracticable.

              b.     There are questions of law and fact common to this Class because

       Defendants owed fiduciary duties to the Plan and to all Participants and

       Beneficiaries and took the actions and omissions alleged herein as to the Plan

       and not as to any individual participant. Thus, common questions of law and

       fact include the following, without limitation: who are the fiduciaries liable for

       the remedies provided by 29 U.S.C. § 1109(a); whether the fiduciaries of the

       Plan breached their fiduciary duties to the Plan; the amount of losses to the

       Plan resulting from each breach of fiduciary duty; and the appropriate Plan-

       wide equitable and other relief the Court should impose in light of Defendants’

       breaches of their duties.

              c.     Plaintiff’s claims are typical of the claims of the Class because

       each Class Member was a participant during the Class Period and all

       participants in the Plan were harmed by Defendants’ misconduct.

              d.     Plaintiff is an adequate representative of the Class because he

       was a participant in the Plan during the Class Period, has no interest that is

       in conflict with the Class, is committed to the vigorous representation of the

       Class, and has engaged experienced and competent attorneys to represent the


                                            45
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 46 of 56 PageID #: 46




       Class.

                e.   Prosecution of separate actions for these breaches of fiduciary

       duties by individual participants and beneficiaries would create the risk of: (A)

       inconsistent or varying adjudications that would establish incompatible

       standards of conduct for Defendants in respect to the discharge of their

       fiduciary duties to the Plan and personal liability to the Plan under 29 U.S.C.

       § 1109(a); and (B) adjudications by individual participants and beneficiaries

       regarding these breaches of fiduciary duties and remedies for the Plan would,

       as a practical matter, be dispositive of the interests of the participants and

       beneficiaries not parties to the adjudication or would substantially impair or

       impede those participants’ and beneficiaries’ ability to protect their interests.

       Therefore, this action should be certified as a class action under Rule

       23(b)(1)(A) or (B) of the Federal Rules of Civil Procedure.

       258.     A class action is the superior method for the fair and efficient

 adjudication of this controversy because joinder of all participants and beneficiaries

 is impracticable, the losses suffered by individual participants and beneficiaries may

 be small and impracticable for individual members to enforce their rights through

 individual actions, and the common questions of law and fact predominate over

 individual questions. Given the nature of the allegations, no Class Member has an

 interest in individually controlling the prosecution of this matter, and Plaintiff is

 aware of no difficulties likely to be encountered in the management of this matter as

 a class action. Alternatively, then, this action may be certified as a class under Rule


                                           46
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 47 of 56 PageID #: 47




 23(b)(3) of the Federal Rules of Civil Procedure if it is not certified under Rule

 23(b)(1)(A) or (B).

          259.   Certification is also appropriate under Federal Rule of Civil Procedure

 23(b)(2) because Defendants have acted or refused to act on grounds that apply

 generally to the Class, so that final injunctive relief or corresponding declaratory

 relief is appropriate respecting the class as a whole.

          260.   On information and belief, no other persons who fall within the potential

 Class definition set forth above have initiated similar litigation, such that individual

 potential Class Members do not wish to control the prosecution of separate actions.

          261.   This class action does not present any unique management difficulties.

                                  CAUSES OF ACTION

          262.   The following is a non-exhaustive list of causes of action supported by

 the facts of this case. King v. Kramer, 763 F.3d 635, 642 (7th Cir. 2014). These

 enumerated causes of action shall not in any way limit the legal bases for liability or

 recovery in this case.

                                  COUNT I
     Breaches of Duties of Loyalty and Prudence of ERISA — RK&A Fees

          263.   Plaintiff incorporates the preceding allegations as if fully set forth

 below.

          264.   Defendants are fiduciaries of the Plan under 29 U.S.C. §§ 1002(21)

 and/or 1102(a)(1).

          265.   29 U.S.C. §1104 imposes fiduciary duties of prudence and loyalty upon

 Defendants in their administration of the Plan.

                                             47
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 48 of 56 PageID #: 48




       266.   Defendants, as fiduciaries of the Plan, are responsible for selecting a

 recordkeeper that, like a hypothetical fiduciary, charges objectively reasonable

 RK&A fees.

       267.   During the Class Period, Defendants had fiduciary duties to do all of the

 following: ensure that the Plan’s RK&A fees were reasonable; manage the assets of

 the Plan for the sole and exclusive benefit of Plan participants and beneficiaries;

 defray reasonable expenses of administering the Plan; and act with the care, skill,

 diligence, and prudence required by ERISA.

       268.   During the Class Period, Defendants breached their fiduciary duties of

 prudence and loyalty to Plan participants, including Plaintiff, by failing to: ensure

 that the Plan’s RK&A fees were objectively reasonable, manage the assets of the Plan

 for the sole and exclusive benefit of Plan participants and beneficiaries, defray

 reasonable expenses of administering the Plan, and act with the care, skill, diligence,

 and prudence required by ERISA.

       269.   During the Class Period, Defendants further had a continuing duty to

 regularly monitor and evaluate the Plan’s recordkeeper to make sure it was providing

 the contracted services at reasonable costs, given the highly competitive market

 surrounding recordkeeping services and the significant bargaining power the Plan

 had to negotiate the best fees.

       270.   During the Class Period, Defendants breached their duty to Plan

 Participants, including Plaintiff, by failing to employ a prudent and loyal process by

 failing to critically or objectively evaluate the cost and performance of the Plan’s


                                           48
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 49 of 56 PageID #: 49




 recordkeeper in comparison to other recordkeeping options.

          271.   Through these actions and omissions, Defendants breached their

 fiduciary duties of prudence and loyalty with respect to the Plan in violation 29 U.S.C.

 § 1104(a)(1)(A).

          272.   Defendants’ failure to discharge their duties with respect to the Plan

 with the care, skill, prudence, and diligence under the circumstances then prevailing

 that a prudent person acting in a like capacity and familiar with such matters would

 have used in the conduct of an enterprise of like character and with like aims,

 breaching its duties under 29 U.S.C. § 1104(a)(1)(B).

          273.   As a result of Defendants’ breaches of their fiduciary duties of prudence

 and loyalty with respect to the Plan, the Plaintiff and Plan participants suffered

 objectively unreasonable and unnecessary monetary losses.

          274.   Defendants are liable under 29 U.S.C. §§ 1109(a) & 1132(a)(2) to make

 good to the Plan the losses resulting from the breaches, to restore to the Plan any

 profits Defendants made through the use of Plan assets, and to restore to the Plan

 any profits resulting from the breaches of fiduciary duties alleged in this Count.

          275.   In addition, Defendants are subject to other equitable relief pursuant to

 29 U.S.C. §§1109(a) & 1132(a)(2).

                                 COUNT II
 Breaches of Duties of Loyalty and Prudence of ERISA — Management Fees

          276.   Plaintiff incorporates the preceding allegations as if fully set forth

 below.

          277.   Defendants are fiduciaries of the Plan under 29 U.S.C. §§ 1002(21)

                                             49
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 50 of 56 PageID #: 50




 and/or 1102(a)(1).

       278.   29 U.S.C. § 1104 imposes fiduciary duties of prudence and loyalty upon

 Defendants in managing the investments of the Plan.

       279.   Defendants, as fiduciaries of the Plan, are responsible for selecting

 prudent investment options, ensuring that those options charge only reasonable fees,

 and taking any other necessary steps to ensure that the Plan’s assets are invested

 prudently.

       280.   During the Class Period, Defendants had a fiduciary duty to do all of the

 following: manage the assets of the Plan for the sole and exclusive benefit of Plan

 participants and beneficiaries; defray reasonable expenses of administering the Plan;

 and act with the care, skill, diligence, and prudence required by ERISA.

       281.   During the Class Period, Defendants breached their fiduciary duties of

 prudence and loyalty to Plan participants, including Plaintiff, by failing to: manage

 the assets of the Plan for the sole and exclusive benefit of Plan participants and

 Beneficiaries, defray reasonable expenses of administering the Plan, and act with the

 care, skill, diligence, and prudence required by ERISA.

       282.   Defendants, as fiduciaries of the Plan, had a continuing duty to

 regularly monitor and independently assess whether the Plan’s investments and

 share classes were prudent choices for the Plan and to remove imprudent investment

 options regardless of how long said investments had been in the Plan.

       283.   During the Class Period, Defendants breached their fiduciary duties of

 prudence and loyalty to Plan participants, including Plaintiff, by failing to engage


                                           50
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 51 of 56 PageID #: 51




 in a prudent process for monitoring the Plan’s investments, including share classes,

 and removing imprudent ones within a reasonable period.

       284.   Defendants failed to employ a prudent and loyal process by failing to

 critically or objectively evaluate the cost and performance of the Plan’s investments

 and fees associated with share classes in comparison to other investment options.

 Defendants selected and retained for years as Plan investment options mutual fund

 share classes with high expenses relative to other investment options that were

 readily available to the Plan at all relevant times.

       285.   Through these actions and omissions, Defendants breached their

 fiduciary duties of prudence and loyalty with respect to the Plan in violation 29 U.S.C.

 § 1104(a)(1)(A).

       286.   Defendants’ failure to discharge their duties with respect to the Plan

 with the care, skill, prudence, and diligence under the circumstances then prevailing

 that a prudent person acting in a like capacity and familiar with such matters would

 have used in the conduct of an enterprise of like character and with like aims,

 breaching its duties under 29 U.S.C. § 1104(a)(1)(B).

       287.   As a result of Defendants’ breaches of their fiduciary duties of prudence

 and loyalty with respect to the Plan, the Plaintiff and Plan participants suffered

 objectively unreasonable and unnecessary monetary losses.

       288.   Defendants are liable under 29 U.S.C. §§ 1109(a) & 1132(a)(2) to make

 good to the Plan the losses resulting from the breaches, to restore to the Plan any

 profits defendants made through the use of Plan assets, and to restore to the Plan


                                           51
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 52 of 56 PageID #: 52




 any profits resulting from the breaches of fiduciary duties alleged in this Count.

          289.   In addition, Defendants are subject to other equitable relief pursuant to

 29 U.S.C. §§1109(a) & 1132(a)(2).

                                   COUNT III
            Failure to Adequately Monitor Under ERISA — RK&A Fees

          290.   Plaintiff incorporates the preceding allegations as if fully set forth

 below.

          291.   Defendants had the authority to appoint and remove members or

 individuals responsible for Plan RK&A fees and knew or should have known that

 these fiduciaries had critical responsibilities for the Plan.

          292.   In light of this authority, Defendants had a duty to monitor those

 individuals responsible for Plan RK&A fees to ensure that they were adequately

 performing their fiduciary obligations, and to take prompt and effective action to

 protect the Plan in the event that these individuals were not fulfilling those duties.

          293.   Defendants had a duty to ensure that the individuals responsible for

 Plan administration possessed the needed qualifications and experience to carry out

 their duties (or use qualified advisors and service providers to fulfill their duties); had

 adequate financial resources and information; maintained adequate records of the

 information on which they based their decisions and analysis with respect to the

 Plan’s investments; and reported regularly to Defendants.

          294.   Defendants breached their fiduciary duties by, among other things:

                 a.    Failing to monitor and evaluate the performance of individuals

          responsible for Plan RK&A fees or have a system in place for doing so, standing

                                             52
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 53 of 56 PageID #: 53




          idly by as the Plan suffered significant losses in the form of unreasonably high

          RK&A fees, expenses, and costs;

                 b.    Failing to monitor the process by which Plan Recordkeepers were

          evaluated and failing to investigate through competitive bidding the

          availability of lower-cost recordkeepers; and

                 c.    Failing to remove individuals responsible for Plan RK&A fees

          whose performance was inadequate in that these individuals continued to pay

          the same RK&A costs even though benchmarking and using other similar

          comparators would have showed that maintaining Fidelity Investments as

          Recordkeeper was imprudent, excessively costly, all to the detriment of the

          Plan and Plan Participants’ retirement savings.

          295.   As the consequences of the foregoing breaches of the duty to monitor for

 RK&A fees the Plaintiff and Plan Participants suffered unreasonable and

 unnecessary monetary losses.

          296.   Pursuant to 29 U.S.C. §§ 1109(a) & 1132(a)(2), Defendants are liable to

 restore to the Plan all loses caused by their failure to adequately monitor individuals

 responsible for Plan RK&A fees.

          297.   In addition, Plaintiff is entitled to equitable relief and other appropriate

 relief as set forth in the Prayer for Relief.

                                COUNT IV
      Failure to Adequately Monitor Under ERISA — Management Fees

          298.   Plaintiff incorporates the preceding allegations as if fully set forth

 below.

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Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 54 of 56 PageID #: 54




       299.   Plaintiff restates the above allegations as if fully set forth herein.

       300.   Defendants had the authority to appoint and remove members or

 individuals responsible for Plan investment management and were aware that these

 fiduciaries had critical responsibilities for the Plan.

       301.   In light of this authority, Defendants had duties to monitor those

 individuals responsible for Plan investment management to ensure that they were

 adequately performing their fiduciary obligations, and to take prompt and effective

 action to protect the Plan in the event that these individuals were not fulfilling those

 duties.

       302.   Defendants had a duty to ensure that the individuals responsible for

 Plan investment management, including the evaluation of share classes, possessed

 the needed qualifications and experience to carry out their duties (or use qualified

 advisors and service providers to fulfill their duties); had adequate financial resources

 and information; maintained adequate records of the information on which they

 based their decisions and analysis with respect to the Plan’s investments; and

 reported regularly to Defendants.

       303.   Defendants breached their fiduciary duties by, among other things:

              a.     Failing to monitor and evaluate the performance of individuals

       responsible for Plan investment management or have a system in place for

       doing so, standing idly by as the Plan suffered significant losses in the form of

       unreasonably high expenses associated with share classes;

              b.     Failing to monitor the process by which Plan investments were


                                            54
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 55 of 56 PageID #: 55




           evaluated, failing to investigate the availability through competitive bidding

           of lower-cost share classes; and

                  c.    Failing to remove individuals responsible for Plan administration

           whose performance was inadequate in that they continued to maintain

           imprudent, excessively costly, and poorly performing investments within the

           Plan, all to the detriment of the Plan and Plan participants’ retirement

           savings.

           304.   As a result of Defendants’ foregoing breaches of the duty to monitor, the

 Plaintiff and Plan participants suffered unreasonable and unnecessary monetary

 losses.

           305.   Pursuant to 29 U.S.C. §§1109(a) & 1132(a)(2), Defendants are liable to

 restore to the Plan all loses caused by their failure to adequately monitor individuals

 responsible for Plan administration.

           306.   In addition, Plaintiff is entitled to equitable relief and other appropriate

 relief as set forth in the Prayer for Relief.

                                   PRAYER FOR RELIEF

           WHEREFORE, the Plaintiff, on behalf of himself and the Proposed Class,

 respectfully prays that the Court certify the Proposed Plaintiff Class pursuant to

 Rules 23(a) and (b)(1), (2), & (3) of the Federal Rules of Civil Procedure and enter

 orders and judgments against the Defendants and in favor of Plaintiff and the

 Proposed Class in an amount that will fairly compensate them for those losses and

 damages they have and will sustain as a result of Defendants’ wrongdoing.


                                               55
Case 1:22-cv-01271-RLY-DML Document 1 Filed 06/27/22 Page 56 of 56 PageID #: 56




                            DEMAND FOR JURY TRIAL

       Plaintiff, on behalf of himself and all others similarly situated, respectfully

 demands a trial by jury.


 Respectfully submitted,

  /s/ Timothy F. Devereux                   /s/ Eric S. Pavlack
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                                           56
